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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
v.                                            )     NO.09-CR-30084-WDS
                                              )
REGINALD MOSES,                               )
                                              )
               Defendant.                     )


                               MEMORANDUM AND ORDER

STIEHL, District Judge:

       Before the Court is the government’s first motion in limine (Doc. 117) in which the

government seeks to prevent the defendant from cross examining witnesses about their juvenile

records, or pending felony charges for which there has not yet been a of any convictions which are

more than 10 years old, pursuant to Fed. R. Crim. P. 609.

       Rule 609 “governs the admissibility of a witness’s prior convictions for impeachment

purposes.” United States v. Rogers, 542 F.3d 197, 200 (7th Cir. 2008).

       Counsel for the defendant has advised the Court that he does not intend to seek to introduce

evidence of un-convicted felonies, of convictions that are more than 10 years old, or of juvenile

records.

       Accordingly, the Court GRANTS the government’s motion in limine.



IT IS SO ORDERED

DATE:       16 August, 2010
                                             /s/ WILLIAM D. STIEHL
                                                  DISTRICT JUDGE
